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                                     #:47125



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13                         UNITED STATES DISTRICT COURT
14                       CENTRAL DISTRICT OF CALIFORNIA
15
                                    WESTERN DIVISION
16
17
18    JENNY LISETTE FLORES., et al.,              Case No. CV 85-4544-DMG-AGRx
19                    Plaintiffs,                 JOINT STATEMENT RE NO
20                                                CLASS MEMBER OBJECTIONS
            v.                                    TO CBP SETTLEMENT
21
      MERRICK B. GARLAND, Attorney                [DOC. ## 572, 576, 1254, 1255]
22    General of the United States, et al.,
23                                                Hearing: July 29, 2020 10:30 AM
                      Defendants.
24
25                                                [HON. DOLLY M. GEE]
26
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 2         Upon consideration of the parties’ Joint Motion for preliminary approval of
 3   their Agreement to resolve Plaintiffs’ June 26, 2019, Ex Parte Application for a
 4   Temporary Restraining Order and an Order to Show Cause Why a Preliminary
 5   Injunction and Contempt Order Should Not Issue (“Plaintiffs’ TRO”). [Doc. # 572].,
 6   the Court preliminarily approved the parties’ Agreement and with some
 7   modifications approved the notice of the proposed Agreement to Flores class
 8   members (“Notice”) in accordance with Federal Rule of Civil Procedure 23(e). [Doc.
 9   # 1255]. The Court set—and the parties have complied with—the following schedule
10   for notice and final approval:
11         By June 8, 2022, Plaintiffs were required to provide to Defendants a copy of
12   the approved Notice in English and Spanish. While briefly delayed, Plaintiffs
13   promptly provided Defendants a copy of the approved Notice as modified by the
14   Court in both English and Spanish.
15         By June 23, 2022, Defendants were required to and did post copies of the
16   approved Notice in English and Spanish at all U.S. Customs and Border Protection
17   facilities in the Rio Grande Valley and El Paso sectors of the U.S. Border Patrol.
18   Defendants were required to and did post the Notice in areas where class members
19   and their accompanying adult relatives could see the Notices. Defendants were
20   required to and did notify Plaintiffs’ counsel in writing when the Notices were posted
21   and of the facilities where they were posted and the locations in each facility where
22   they were posted. The notice period has now been completed and was no less than
23   (30) days in duration.
24         By July 15, 2022, the parties were required to and did file a Joint Motion for
25   final approval of the Agreement. [Doc. # 1266.].
26         The Court further ordered that by July 25, 2022, Plaintiffs’ counsel should file
27   and serve any objections received, redacted as appropriate, or notify the Court that
28   no objections have been received, and by July 28, 2022, Plaintiffs and Defendants

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 1   should file a joint report regarding any objections received from class members
 2   during the period for the submission of objections. Id.
 3          While slightly delayed to ensure that the parties and the Court would be aware
 4   of any objections to the Agreement, Plaintiffs have now advised Defendants that no
 5   class members or adults accompanying class members have forwarded to Class
 6   Counsel any objections to the Agreement, and hereby notify the Court that no class
 7   members or adults accompanying class members have forwarded to Class Counsel
 8   any objections to the Agreement. Defendants join this filing to confirm that they are
 9   not aware of any objections to the Agreement.
10
11   Dated: July 28, 2022                   Respectfully submitted,
12
                                             /s/ Peter Schey
13                                          PETER SCHEY
14                                          Center For Human Rights &
                                            Constitutional Law
15
16                                          BILL ONG HING
17                                          USF School Of Law Immigration
                                            Clinic
18
19                                          STEPHEN ROSENBAUM
                                            La Raza Centro Legal, Inc.
20                                          Attorneys for Plaintiffs
21
22                                            /s/ Sarah B. Fabian
                                            SARAH B. FABIAN
23                                          Senior Litigation Counsel
24                                          U.S. Department of Justice
                                            Office of Immigration Litigation
25                                          Attorneys for Defendants
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 1                            CERTIFICATE OF SERVICE
 2                        CASE NO. CV 85-4544-DMG (AGRx)
 3
 4         I certify that on July 28, 2022, I served a copy of the foregoing pleading on
 5   all counsel of record by means of the District Court’s CM/ECF electronic filing
 6   system.
 7                                           /s/ Peter Schey
                                           PETER SCHEY
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